     Case 4:17-cv-02500 Document 47 Filed on 03/18/19 in TXSD Page 1 of 1
                                                                              United States District Court
                                                                                Southern District of Texas

                                                                                   ENTERED
                      UNITED STATES DISTRICT COURT                                March 18, 2019
                   FOR THE SOUTHERN DISTRICT OF TEXAS                           David J. Bradley, Clerk
                            HOUSTON DIVISION


John Doe,                                   §
                                            §
      Plaintiff,                            §
                                            §
v.                                          §      CIVIL ACTION 4:17−cv−02500
                                            §
Texas A&M University,, et al.               §
                                            §
      Defendant.                            §


                     CONDITIONAL ORDER OF DISMISSAL

     Having been advised that a settlement has been reached between plaintiff and
defendant, the Court dismisses this case without prejudice to reinstatement of plaintiff's
claims if any party represents to the Court within 30 days from the date of this order
that the settlement could not be completely documented. The court retains jurisdiction
over any settlement agreements.


     Signed at Houston, Texas on March 18, 2019.
